Case 1:15-cv-00379-LPS Document 518 Filed 09/26/19 Page 1 of 5 PageID #: 22141



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

WI-LAN INC.,                                     )
                                                 )
                      Plaintiff,                 )
                                                 )
       v.                                        )     C.A. No. 15-379 (LPS)
                                                 )
SHARP ELECTRONICS CORPORATION,                   )
                                                 )
                      Defendant.                 )
WI-LAN INC.,                                     )
                                                 )
                      Plaintiff,                 )
                                                 )
       v.                                        )     C.A. No. 15-788 (LPS)
                                                 )
VIZIO, INC.,                                     )
                                                 )
                      Defendant.                 )

        DEFENDANTS’ MOTION TO DECLARE CASES EXCEPTIONAL
   PURSUANT TO 35 U.S.C. § 285 AND AWARD ATTORNEYS’ FEES AND COSTS

       Pursuant to 35 U.S.C. § 285, Defendants Sharp Electronics Corporation and VIZIO, Inc.

hereby move as the prevailing parties in these cases for an award of attorney fees and costs, and

a determination that these are “exceptional” cases. The grounds for this motion are set forth in

Defendants’ opening brief submitted herewith.

MORRIS, NICHOLS, ARSHT & TUNNELL LLP             YOUNG CONAWAY STARGATT & TAYLOR, LLP

/s/ Stephen J. Kraftschik                        /s/ Pilar G. Kraman

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September 26, 2019




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                                    7.1.1 CERTIFICATION

               I hereby certify that the subject of the foregoing motion has been discussed with

counsel for the plaintiff and that we have not been able to reach agreement.

                                              /s/ Stephen J. Kraftschik

                                              Stephen J. Kraftschik (#5623)
                                              Attorneys for Sharp Electronics Corporation


                                              /s/ Pilar G. Kraman

                                              Pilar G. Kraman (#5199)
                                              Attorneys for VIZIO, Inc.
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

WI-LAN INC.,                                    )
                                                )
                     Plaintiff,                 )
                                                )
       v.                                       )    C.A. No. 15-379 (LPS)
                                                )
SHARP ELECTRONICS CORPORATION,                  )
                                                )
                     Defendant.                 )
WI-LAN INC.,                                    )
                                                )
                     Plaintiff,                 )
                                                )
       v.                                       )    C.A. No. 15-788 (LPS)
                                                )
VIZIO, INC.,                                    )
                                                )
                     Defendant.                 )

            [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO
            DECLARE CASE EXCEPTIONAL PURSUANT TO 35 U.S.C. § 285
                  AND AWARD ATTORNEYS’ FEES AND COSTS

       At Wilmington this ____ day of ____________, 2019, having considered Defendant

Sharp Electronics Corporation’s and VIZIO, Inc.’s Motion to Declare Case Exceptional Pursuant

to 35 U.S.C. § 285 and Award Attorneys’ Fees and Costs, IT IS HEREBY ORDERED that the

motion is GRANTED. The parties are hereby directed to meet and confer on a schedule for

supplemental submissions regarding the amount of fees and costs to be awarded.



                                               _______________________________________
                                               Chief, United States District Judge
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                                  CERTIFICATE OF SERVICE

                I hereby certify that on September 26, 2019, I caused the foregoing to be

electronically filed with the Clerk of the Court using CM/ECF, which will send notification of

such filing to all registered participants.

                I further certify that I caused copies of the foregoing document to be served on

September 26, 2019, upon the following in the manner indicated:

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                                                    Stephen J. Kraftschik (#5623)
